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9                        UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
10

11
      TERRY FABRICANT, individually                       )     Case Number:
      and on behalf of all others similarly               )
12
                                                          )     2:20-cv-11283
13    situated,                                           )
14    Plaintiff,                                          )     NOTICE OF SETTLEMENT
                                                          )
15    vs.                                                 )
16    DEFYNE HOLDINGS, LLC, and                           )
                                                          )
17    DOES 1 through 10, inclusive, and each              )
18    of them,                                            )
19
                                                          )
      Defendant..                                         )
20

21           NOW COME THE PLAINTIFF by and through their attorney to
22    respectfully notify this Honorable Court that this case has settled. Plaintiff
23    requests that this Honorable Court vacate all pending hearing dates and allow
24    sixty (60) days with which to file dispositive documentation. This Court shall
25    retain jurisdiction over this matter until fully resolved.
26    Dated: March 10, 2021             Law Offices of Todd M. Friedman, P.C.
27

28                                                            By: s/ Adrian R. Bacon
                                                               Adrian R. Bacon, Esq.


                                         Notice of Settlement - 1
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3
                                CERTIFICATE OF SERVICE
4

5     Filed electronically on March 10, 2021, with:
6
      United States District Court CM/ECF system
7

8
      Notification sent electronically on March 10, 2021 to:

9     To the Honorable Court, all parties and their Counsel of Record
10

11
                               By: s/ Adrian R. Bacon
12                              Adrian R. Bacon, Esq.
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                                       Notice of Settlement - 2
